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               EXHIBIT A
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Edwin Job Aguilar Roblero
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Jose Antonio Cruz Hernandez
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  Marcos Flores Reyes
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          Victorino Hernandez Hernandez
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    Joel Hernandez Ramos
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Neymaelin Lopez Matias
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      Agustin Miguel Felix
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Rosenaldo Valentin Rodriguez Vazquez
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Emmanuel Romero Grajales
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David Rubio Hernandez
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Erick Zavala Hernandez
